B 2100A (Form 2100A) (12/15)

UNITED STATES BANKRUPTCY COURT

Southern District of Indiana

Jason William Adams
In re Shannon Kathleen Adams

 

TRANSFER OF CLAIM OTHER THAN FOR SECURITY

A CLAIM HAS BEEN FILED IN THIS CASE or deemed filed under 11 U.S.C. § 1111 (a). Transferee
hereby gives evidence and notice pursuant to Rule 3001(e)(2), Fed. R. Bankr. P., of the transfer, other
than for security, of the claim referenced in this evidence and notice.

 

 

Servis One, Inc. DBA BSI Financial Services Guaranteed Rate, Inc.
Name of Transferee Name of Transferor
Name and Address where notices to transferee Court Claim # (if known): 11-1
should be sent: Amount of Claim: $430,311.64
BSI Financial Services Date Claim Filed: 04/01/2020

1425 Greenway Drive, #400
Irving, TX 75038

Phone: Phone:
Last Four Digits of Acct #: 4950 Last Four Digits of Acct. #: 4950

 

 

Name and Address where transferee payments

should be sent (if different from above):
BSI Financial Services, Attn: Payment Processing Department
314 S. Franklin Street, 2nd Floor
Titusville, PA 16354

Phone:

Last Four Digits of Acct #:

 

I declare under penalty of perjury that the information provided in this notice is true and correct to the
best of my knowledge and belief.

By: /s/ Molly Slutsky Simons Date: 11/11/2020
Transferee/Transferee’s Agent

 

 

Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 & 3571.

; Case No. _20-00894-JJG-13
